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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA
                                 ATHENS DIVISION

GLENN CRUICKSHANK and ROBIN              *
CRUICKSHANK,
                                         *
        Plaintiffs,
                                         *
vs.                                                CASE NO. 3:06-CV-101(CDL)
                                         *
ELBERT COUNTY, et al.
     Defendants.                         *


                                    O R D E R

        Presently pending before the Court is Plaintiffs’ Motion to

Compel Defendant Mary D. Hall, R.N., to supplement her discovery

responses (Doc. 204).        The motion is granted in part and denied in

part.

        Plaintiffs seek Defendant Hall’s social security number so that

they may obtain Defendant Hall’s telephone records for the month of

November 2004.      These records are relevant to this case.           Plaintiffs

previously tried to obtain the records from Cellco Partnership d/b/a/

Verizon Wireless (“Verizon”) by providing Verizon with Defendant

Hall’s full name, date of birth and address, but Verizon responded

that it was unable to provide the records without more information,

such as Defendant Hall’s telephone number, account number or social

security number.

        The Court will not order Defendant Hall to disclose her full

social security number to Plaintiffs.             However, the Court orders

Defendant Hall to provide Plaintiffs with a signed authorization that

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will permit Plaintiffs to obtain a certified copy of Defendant Hall’s

November 2004 telephone records from Verizon. The authorization must

include sufficient information about Defendant Hall’s Verizon account

to   enable   Verizon    to   identify   and   produce   the   records.   The

authorization shall be provided to Plaintiff within seven days of

today’s order.

       The records obtained from Verizon shall remain confidential and

shall not be disclosed beyond this litigation.



       IT IS SO ORDERED, this _25th day of April, 2008.



                                                 S/Clay D. Land
                                                       CLAY D. LAND
                                               UNITED STATES DISTRICT JUDGE




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